            Case 5:05-cr-00445-RMW             Document 53   Filed 01/05/06   Page 1 of 3


     KEVIN V. RYAN (CASBN 118321)
1    United States Attorney

2    EUMI L. CHOI (WVBN 0722)
     Chief, Criminal Division
3
     MARK L. KROTOSKI (CASBN 138549)
4    Assistant United States Attorney

5       150 Almaden Boulevard, Suite 900
        San Jose, California 95113
6       Telephone: (408) 535-5035
        Facsimile: (408) 535-5081
7
     Attorneys for Plaintiff
8
9                                  UNITED STATES DISTRICT COURT

10                               NORTHERN DISTRICT OF CALIFORNIA

11                                          SAN JOSE DIVISION
                                                                 *E-FILED - 1/5/06*
12
     UNITED STATES OF AMERICA,                   )
13                                               )      No. CR 05-00445-RMW
           Plaintiff,                            )
14                                               )      NOTICE OF RELATED CASE IN A
        v.                                       )      CRIMINAL ACTION AND
15                                               )      ORDER
     DAVID M. FISH,                              )
16      aka x000x, et al.,                       )
                                                 )
17         Defendants.                           )
                                                 )
18                                               )
     UNITED STATES OF AMERICA,                   )
19                                               )
           Plaintiff,                            )      No. CR 05-00734-JW
20                                               )
        v.                                       )      NOTICE OF RELATED CASE IN A
21                                               )      CRIMINAL ACTION AND
     MOISES NUNEZ,                               )      ORDER
22      aka cartel, aka marvel, aka OTR,         )
     STEPHEN BROWN,                              )
23      aka blahz, aka sab,                      )
     DESTON EVANS,                               )
24      aka hammer, aka 778889,                  )
     OSCAR MARTINEZ,                             )
25      aka janeiro, aka xraided, aka sailorboy, )
     PAUL ALEMAN                                 )
26      aka panic, aka HEMi, aka panic_1,        )
                                                 )
27         Defendants.                           )
                                                 )
28

     NOTICE OF RELATED CASES IN A CRIMINAL ACTION
     AND ORDER
              Case 5:05-cr-00445-RMW           Document 53       Filed 01/05/06     Page 2 of 3


        NOTICE OF RELATED CASES IN A CRIMINAL ACTION
1
        Criminal Local Rule 8-1 of the Local Rules of Practice of the United States District Court for
2
     the Northern District of California, imposes a duty on any party to "promptly" notify the Court of
3
     cases which may be related. The Government hereby gives notice pursuant to Criminal Local
4
     Rule 8-1 that the above-captioned criminal cases are believed to be related since the “actions
5
     concern one or more of the same defendants and the same alleged events, occurrences,
6
     transactions or property.” Criminal Local Rule 8-1(b)(1).
7
        Based on the charges and other documents on file, each of these cases relates to the same
8
     warez conspiracy. Conspiracy and copyright charges have been filed against all of the
9
     defendants concerning their role in the warez conspiracy. A review of the two indictments
10
     further shows that there is a substantial overlap in many of the conspiracy allegations. The cases
11
     also relate to the same investigation.
12
        To date, five defendants have been convicted before Judge Whyte in the original or related
13
     cases.
14
        Based on the foregoing, the Government believes that the two above-captioned cases concern
15
     “the same alleged events, occurrences, transactions or property” within the meaning of Criminal
16
     Local Rule 8-1(b)(1) and are therefore related to each other. As a result, the Government further
17
     maintains that assignment to a single judge is likely to conserve judicial resources and promote
18
     an efficient determination of the action. Accordingly, pursuant to Criminal Local Rule 8-1(e),
19
     the Government requests that the five defendants charged in the Nunez case be assigned to the
20
     judge assigned to the earliest-filed case, that is, Judge Ronald M. Whyte. For the convenience of
21
     the Court, a proposed Order is submitted consistent with the regular practice of the Court and the
22
     Local Rule that related cases are generally assigned to the judge to whom the first filed action
23
     was assigned.
24
     DATED: November 17, 2005                       Respectfully Submitted,
25
                                                    KEVIN V. RYAN
26                                                  United States Attorney
                                                    _____/s/___________________
27                                                  MARK L. KROTOSKI
                                                    Assistant United States Attorney
28

     NOTICE OF RELATED CASES IN A CRIMINAL ACTION
     AND ORDER                                2
            Case 5:05-cr-00445-RMW             Document 53       Filed 01/05/06       Page 3 of 3


                                                    ORDER
1
            For Good Cause shown,
2
            Pursuant to Criminal Local Rule 8-1(e), the Court finds the case of United States v.
3
     David M. Fish et al., CR 05-00445-RMW, is related to United States v. Moises Nunez et al, CR
4
     05-00734 JW. The actions concern one or more of the same alleged events, occurrences,
5
     transactions or property; and the actions appear likely to entail substantial duplication of labor if
6
     heard by different Judges or might create conflicts and unnecessary expenses if conducted before
7
     different Judges.
8
            IT IS THEREFORE ORDERED that case number CR 05-00734 JW be reassigned to the
9
     Honorable Ronald M. Whyte. All captions in the reassigned case shall now appear as CR 05-
10
     00734 RMW.
11
                    SO ORDERED.
12
     DATED: January 5, 2006                               /s/ Ronald M. Whyte
                                                       _____________________________
13                                                        RONALD M. WHYTE
                                                          United States District Judge
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

     NOTICE OF RELATED CASES IN A CRIMINAL ACTION
     AND ORDER                                3
